     Case 3:18-cv-01269-BTM-AGS Document 25 Filed 09/29/20 PageID.488 Page 1 of 2




 1   SIEGMUND F. FUCHS
     Senior Trial Attorney, Torts Branch
 2   D.C. Bar No. 986828
     U.S. Department of Justice
 3   Ben Franklin Station
     P.O. Box 7146
 4   Washington, D.C. 20044-7146
     Telephone: (202) 616-4322
 5   Facsimile: (202) 616-4314
     Email: siegmund.f.fuchs@usdoj.gov
 6
     Attorney for the Federal Defendants
 7
                             UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA
 9
     ELIZABETH JIMINEZ, individually,                    Consolidated Case Nos.:
10                                                         17cv1205-BTM-AGS
     and as successor in interest of                       18cv1269-BTM-AGS
11   FERNANDO GEOVANNI LLANEZ,
     deceased; FERNANDO LLANEZ,                          NOTICE OF MOTION AND MOTION
12                                                       FOR SUMMARY JUDGMENT BY THE
     individually, and as successor in interest          UNITED STATES OF AMERICA AND
13   of FERNANDO GEOVANNI LLANEZ,                        RONALDO GONZALEZ
14   deceased
                              Plaintiffs,
15
16                 vs.
                                                         CTRM: 15B
17                                                       JUDGE: Hon. Barry Ted Moskowitz
     THE UNITED STATES OF AMERICA;
18   RONALDO RICARDO GONZALEZ, an                        [PER CHAMBERS, NO ORAL
                                                         ARGUMENT UNLESS REQUESTED
     individual; MARCUS OSORIO, an                       BY THE COURT]
19
     individual; CHRIS BARONI, an
20   individual; ANGELA SANCHEZ, an
21
     individual; MICHAEL BURBANK, an
     individual; JEREMY DORN, an
22   individual; ANTHONY
23   CASTELLANOS, an individual; MARK
     MEREDITH, an individual; and DOES
24   1-100, inclusive,
25                            Defendants.
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27
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                                                   1
                              Notice of Motion and Motion for Summary Judgment – 17cv1205-BTM-AGS, 18cv1269-BTM-AGS
     Case 3:18-cv-01269-BTM-AGS Document 25 Filed 09/29/20 PageID.489 Page 2 of 2




 1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that on November 6, 2020, at 11:00 a.m. or as soon
 3   thereafter as this matter can be heard in Courtroom 15B of the United States District Court
 4   located at 333 West Broadway, San Diego, California, THE UNITED STATES OF
 5   AMERICA and RONALDO GONZALEZ move for summary judgment on the following
 6   grounds:
 7      (1) Defendant Gonzalez is entitled to summary judgment on the excessive force claim
            based on qualified immunity because the evidence shows that his actions did not
 8          violate any clearly established Fourth Amendment right.
 9      (2) The United States is entitled to summary judgment on the assault and battery
            claim because the evidence shows its conduct is not actionable under California
10          law.
11
     This Motion is based upon this Notice of Motion, the Memorandum of Points and
12
     Authorities, the Notice of Lodgement of Exhibits filed concurrently herewith, all pleadings
13
     and filings in this action, and upon such other matters presented to the Court.
14
15   DATED: September 29, 2020                            Respectfully submitted,
16                                                        JEFFREY BOSSERT CLARK
17
                                                          Acting Assistant Attorney General,
                                                          Civil Division
18                                                        ROBERT S. BREWER, JR.
19
                                                          United States Attorney
                                                          Southern District of California
20                                                        C. SALVATORE D’ALESSIO, JR.
21
                                                          Acting Director
                                                          Torts Branch, Civil Division
22                                                        RICHARD MONTAGUE
23
                                                          Senior Trial Counsel
                                                          Torts Branch, Civil Division
24                                                        s/ Siegmund F. Fuchs
25
                                                          SIEGMUND F. FUCHS
                                                          Senior Trial Attorney
26
                                                          Torts Branch, Civil Division

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                                                          Attorneys for the Federal Defendants

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                              Notice of Motion and Motion for Summary Judgment – 17cv1205-BTM-AGS, 18cv1269-BTM-AGS
